                            United States District Court
                           Middle District of Pennsylvania
                               Harrisburg Division

The PUBLIC INTEREST LEGAL
FOUNDATION,

                                           Plaintiff,
    v.

LEIGH M. CHAPMAN, in her official
capacity as Acting Secretary of the                     No. 1:19-cv-00622-CCC
Commonwealth of Pennsylvania, and
JONATHAN M. MARKS, in his official
capacity as Deputy Secretary for Elections
and Commissions,

                                        Defendants.



                                        Order

         Upon consideration of the parties’ Joint Motion for Entry of Briefing

Schedule for Attorney’s Fees Motions, IT IS HEREBY ORDERED that the

Motion is GRANTED. The following schedule is established for motions for

attorney’s fees, costs, and expenses pursuant to 52 U.S.C. § 20510(c):

               Motions: On or before May 6, 2022.

               Responses: On or before June 6, 2022.

               Replies: On or before June 10, 2022.
SIGNED on April 12, 2022.



                            /s/ Christopher C. Conner
                            United States District Judge
